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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                    12/9/2022


NIKE, INC.,

                                            Plaintiff,                22-CV-00983 (VEC)(SN)

                          -against-                                     DISCOVERY
                                                                     CONFERENCE ORDER
STOCKX, LLC,

                                             Defendant.
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SARAH NETBURN, United States Magistrate Judge:

        On December 6, 2022, the Honorable Valerie E. Caproni referred this case to my docket

for all discovery disputes and any requests for an extension of the discovery schedule.

        Accordingly, a discovery conference to discuss the issues raised by the parties’ December

5, 2022 Letter Motion is scheduled for Wednesday, December 14, 2022, at 3:00 p.m. in

Courtroom 219, Thurgood Marshall Courthouse, 40 Foley Square, New York, New York.

        The December 5 letter raises challenges to the parties’ discovery responses. To evaluate

those objections, the parties shall deliver to the Court two well-organized copy sets of the

underlying discovery disputes, including each of the discovery demands and the

objections/responses. Each party may also file a five-page letter describing their position with

respect to the disputes. Given the volume of individual disputes, the Court urges the parties to

categorize disputes that raise common issues. These submissions shall be delivered to the Court’s

chambers by Monday, December 12, 2022.

SO ORDERED.



DATED:           December 9, 2022
                 New York, New York
